         Case 6:21-cv-00520-ADA Document 44 Filed 04/20/22 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                               WACO DIVISION

PARKERVISION, INC.                            §
                                              §
vs.                                           §      NO: WA:21-CV-00520-ADA
                                              §
LG ELECTRONICS INC.                           §

                 ORDER SETTING MARKMAN HEARING VIA ZOOM

       IT IS HEREBY ORDERED that the above entitled and numbered case is set for

MARKMAN HEARING VIA ZOOM for purposes of limited referral on Tuesday May 10, 2022

at 10:30 AM before the Honorable Derek T. Gilliland. The Zoom link will be sent via email.

SIGNED this 20th day of April, 2022.


                                                  ______________________________
                                                  DEREK T. GILLILAND
                                                  UNITED STATES MAGISTRATE JUDGE
